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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


RANGE RESOURCES –                             )
APPALACHIA, LLC,                              )
                                              )
                        Plaintiff,            )
         v.                                   )      Civil Action No.
                                              )
BLAINE TOWNSHIP,                              )
                                              )
                         Defendant.           )


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        NOW COMES the Plaintiff, Range Resources – Appalachia LLC (“Range”), by and

through its undersigned attorneys and files the following Complaint for Declaratory and

Injunctive Relief.


I.      PARTIES

        1.      Plaintiff Range is a Limited Liability Corporation, registered to do business

within the Commonwealth, and with a place of business at 380 Southpointe Boulevard,

Canonsburg, Pennsylvania 15317.

        2.      Blaine Township (“the Township”) is a Second Class Township located in

Washington County and is governed by and must operate under the laws of the Commonwealth

of Pennsylvania.


II.     VENUE AND JURISDICTION

        3.      Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 and 42 U.S.C. §

1983.

        4.      Venue is proper because the events giving rise to Range’s claims occurred and are

occurring in the Western District of Pennsylvania.
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       5.      Venue is also proper because the Township is located within the Western District

of Pennsylvania.


III.   FACTUAL BACKGROUND

       A.      General Introduction

       6.      Range is the owner of oil and natural gas leasehold interests located within the

Township and through those leasehold interests has a legal property interest in over 2,500 acres

of property within the Township.

       7.      Range has applied for and been granted permits from, the Pennsylvania

Department of Environmental Protection to develop Range’s natural gas leases within the

Township.

       8.      The Blaine Township Board of Supervisors (the “Board”) is an elected

supervisory board responsible for enacting ordinances on behalf of the Township that are not

inconsistent with or restrained by the Constitution and laws of the Commonwealth of

Pennsylvania pursuant to the Pennsylvania Second Class Township Code, Act of May 1, 1933,

P.L. 103 § 1509, as reenacted and amended by Act No. 195-60, § 1, 53 P.S. § 66506.

       9.      The Township has enacted two ordinances and a resolution (collectively, the

“Ordinances and Resolution”), which purport to unlawfully regulate and restrict Range’s

development of its oil and natural gas lease interests within the Township and thereby deprive

Range of its legal rights to develop its leasehold interests.

       B.      Ordinance No. O-002-2008: Corporate Disclosure Ordinance

       10.     On April 21, 2008, the Board enacted Ordinance No. O-002-2008, which is

captioned “An Ordinance to Protect the Health, Safety, and General Welfare of the Citizens and

Natural Environment of Blaine Township by Requiring Corporations Doing Business in Blaine

Township to Disclose that Business; By Prohibiting Corporations with a Consistent History of
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Violating the Law from Doing Business Within the Township; and By Providing for

Enforcement of that Ordinance.” A copy of Ordinance No. 0-002-2008 is attached as Exhibit 1.

       11.     The Township named Ordinance No. 0-002-2008 the “Blaine Township

Corporate Disclosure and Environmental Protection Ordinance.” (hereinafter referred to as the

“Corporate Disclosure Ordinance”).

       12.     The stated purposes of the Corporate Disclosure Ordinance are to protect the

health, safety and welfare of Blaine Township residents by ensuring (a) “that the Township is

informed about the nature of business being conducted by corporations within the municipality;

and to guarantee that corporations doing business or planning on doing business within Blaine

Township are aware of all applicable taxes and do not have a history of consistent violations of

law, and that the corporations’ Principal Owners do not have a history of violating the law;” and

(b) “that the director or officers of corporations doing business or planning to do business in

Blaine Township do not serve as officers or directors for other corporations that have a history of

violating the law.” See Exhibit 1 § 3.

       13.     The Corporate Disclosure Ordinance provides that the “Township Board of

Supervisors finds it necessary to adopt this Ordinance because it finds that corporations – and

those managing corporations – which possess a consistent history of violating the law, pose a

threat to the health, safety, and welfare of the residents of the Township.” See Exhibit 1 § 3.

       14.     The Corporate Disclosure Ordinance contains a “Statement of Law” which

provides that “All corporations doing business within the Township of Blaine shall submit to the

Blaine Township Supervisors a disclosure application form a minimum of sixty (60) days prior

to the commencement of any activity, or if activity has commenced prior to the adoption of this

Ordinance, within sixty (60) days of the adoption of this Ordinance..” See Exhibit 1 § 5.
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       15.     A corporation is prohibited from conducting activities at the location covered by

the disclosure application until the form is submitted, “taxes or fees paid” and the form is

accepted as complete by the Board of Supervisors. See Exhibit 1 § 5.2.

       16.     The disclosure application form is required to include:

               a.      “details that describe the nature and extent of the business pursued,
                       or to be pursued, within the municipality by that corporation, with
                       such particularity to enable the Supervisors and residents of Blaine
                       Township to understand the effect and impact of the business”;

               b.      “a statement detailing which State Routes and Township roads will
                       be used for that business and the impact upon those roads”;

               c.      a statement of “the anticipated hours of operation for the location
                       and for the use of roads within the Township”;

               d.      a statement as to “whether or not subcontractors are being used at
                       the location and shall identify those subcontractors,”; and

               e.      a copy of the articles of incorporation and bylaws of the
                       corporation.

See Exhibit 1 §§ 5.1, 5.2.

       17.     Any subcontractors identified in the disclosure form are required to complete their

own disclosure application form. Under the Corporate Disclosure Ordinance, it shall be the

corporation’s responsibility to ensure compliance with the ordinance by its subcontractors. See

Exhibit 1 at § 5.2.

       18.     The Corporation Disclosure Ordinance further provides that “No corporation shall

be allowed to do business within the Township if it has a history of consistent violations or if its

Parent Corporation or a Subsidiary Corporation has a history of consistent violations of the law.

In addition, this Ordinance prohibits any corporation from doing business within the Township if

a Director or Officer of the Applicant Corporation is a Director or Officer of another corporation

that has a history of consistent violations of the law.” See Exhibit 1 § 6.
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       19.       The Corporate Disclosure Ordinance further provides that “No Corporation shall

be allowed to do business within the Township if a Principal Owner of the Applicant

Corporation is also a Principal Owner of other corporations that cumulatively possess a history

of consistent violations of the law.” See Exhibit 1 § 7.

       20.       The Corporate Disclosure Ordinance defines “corporation” as: “Any corporation

organized under the laws of any state of the United States or under the laws of any country. The

term shall also include any limited partnership, limited liability partnership, business trust, or

limited liability company organized under the laws of any state of the United States or under the

laws of any country, and any other business entity that possesses State-conferred limited liability

attributes for its owners, directors, officers, and/or managers. The term shall also include any

business entity in which one or more owners or partners is a corporation or other entity in which

owners, directors, officers and/or managers possess limited liability attributes.”             See

Exhibit 1 § 4.

       21.       Range is a “corporation” as that term is defined in the Corporate Disclosure

Ordinance.

       22.       The Corporate Disclosure Ordinance defines “history of consistent violations” as

“Three or more violations committed over the prior twenty year period” and defines “violation”

as “notices of violation issued by the Department of Environmental Protection or any other

Pennsylvania state agency, or any other state or federal regulatory agency; criminal convictions

against the corporation brought by state, federal, or local governments and agencies; and

imposition of fines and penalties by any agency of local, state, or federal government. This term

shall include all violations discovered by County Conservation District personnel or by personnel

employed or appointed by any local government. This term shall also be defined to include

consent orders, consent agreements, and settlement agreements. Issuance of a notice of violation
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(NOV) shall constitute a violation, regardless of any remedy or action taken to resolve the

violation.” See Exhibit 1 § 4.

       23.     The Corporate Disclosure Ordinance further provides that if the Township

Supervisors have “reason to believe” that a corporation doing or planning to do business within

the Township has a history of consistent violations, or “that a Director or Officer of that

corporation is a Director or Officer in another corporation that has a history of consistent

violations, or that a Parent Corporation or Subsidiary has a history of consistent violations, the

Supervisors shall request that the entity submit a compliance history and/or compliance histories

to the Supervisors within thirty (30) days of the written request.” See Exhibit 1 §§ 8, 9.

       24.     The “compliance history” is required to include:

               a.      A listing of all of the Applicant Corporation’s officers and directors;

               b.      A listing of all violations committed by the Applicant Corporation over
                       the past twenty years;

               c.      A listing of all other corporations for which the Applicant Corporation’s
                       officers and directors also serve;

               d.      A complete compliance history for all other corporations for which the
                       Applicant Corporation’s officer and directors also serve; and

               e.      A compliance history for any Parent Corporation or Subsidiary
                       Corporation of the Applicant Corporation.

See Exhibit 1 § 11.

       25.     The Corporate Disclosure Ordinance also provides that if the Township has

reason to believe that the Principal Owner of an Applicant Corporation has a history of

consistent violations, then the Principal Owner shall also provide a listing of all other

corporations in which the Principal Owner of the Applicant Corporation is also a Principal

Owner along with a compliance history for all such other corporations. See Exhibit 1 § 11.

       26.     The Corporate Disclosure Ordinance also provides that the Township shall have

the authority “to prohibit a corporation from doing business within the Township” if: (a) the
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Applicant Corporation has a history of consistent violations; (b) if the current Directors or

Officers of the Applicant Corporation serve in another corporation that has a history of consistent

violations; or (c) if the Parent Corporation or Subsidiary Corporation of the Applicant

Corporation has a history of consistent violations. See Exhibit 1 § 12.

       27.     The Corporate Disclosure Ordinance also provides that the Township shall have

the authority “to prohibit a corporation from doing business within the Township if the Principal

Owner of the Applicant Corporation is a Principal Owner of other corporations that cumulatively

possess a history of consistent violations.” See Exhibit 1 § 14.

       28.     The Corporate Disclosure Ordinance states that the Township shall enforce the

ordinance either through an action brought before a district justice or through an action in equity

brought in the Court of Common Pleas of Washington County. See Exhibit 1 § 16.

       29.     The Corporate Disclosure Ordinance also provides that any corporation that

violates or is convicted of violating the Ordinance two or more times shall be permanently

prohibited from doing business in the Township and that this prohibition shall extend to that

corporation’s parent, sister and successor companies, subsidiaries, and alter egos, and to all other

corporations substantially owned or controlled by that corporation. See Exhibit 1 § 16.6.

       30.     The Corporate Disclosure Ordinance provides that “Any attempt to use county,

state, or federal levels of government – judicial, legislative, or executive – to preempt, amend,

alter, or overturn this Ordinance or parts of this Ordinance, or to intimidate the people of Blaine

Township or their elected officials, shall require the Board of Supervisors of Blaine Township to

hold public meetings that explore the adoption of other measures that expand local control and

the ability of residents to protect their fundamental and inalienable right to self-government.

Such considerations may include action to separate the municipality from the other levels of

government used to preempt, amend, alter or overturn the provisions of this Ordinance or other
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levels of government used to intimidate the people of Blaine Township or their elected officials.”

See Exhibit 1 § 17. (emphasis added).

       31.       In addition to the Corporate Disclosure Ordinance, the Board enacted a related fee

schedule by resolution numbered R-002-2008 (“Fee Schedule”). A copy of the Fee Schedule is

attached as Exhibit 2.

       32.       The Fee Schedule requires the applicant to pay a fee with the Disclosure

Statement. The amount of the fee is based on the applicant’s previous year’s business tax return.

See Exhibit 2.

       33.       The fee is not a one time fee. To the contrary, the fee must be paid every year.

See Exhibit 2.

       34.       Certain corporations are excluded from paying the fee. Specifically, the Fee

Schedule states that

                 “[a]ll businesses that provides [sic] residential services including
                 electric, cable, water, phone, gas, garbage hauling, home water
                 delivery, home repair services including plumbing, electrical and
                 pool cleaning, provided that they are working on an established
                 existing single or multi family residential home, are exempted
                 from registering and paying this fee. Existing churches, fire
                 departments, American Legions and municipal structures are also
                 exempted from registering and paying this fee. New home
                 construction contractors and professionals building or working on
                 a single (one) family home construction site are exempt from
                 registration and fees.”


See Exhibit 2.

       35.       Under the Fee Schedule, Range would be required to pay a fee for each year that

it does business within the Township.

       C.        Resolution No. R-001-2008: Temporary Structure Fee Resolution

       36.       On March 17, 2008, the Township passed Resolution R-001-2008 (the

“Temporary Structure Fee Resolution”), which requires a $300 permit for use of any temporary
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trailer or storage structure. A copy of the Temporary Structure Fee Resolution is attached as

Exhibit 3.

       37.     The full heading of the Temporary Structure Fee Resolution is: “A Resolution of

the Blaine Township Board of Supervisors to Enact a $300.00 Permit Fee for Each Temporary

Structure, Storage or Office Trailer Used at All Work Sites.” See Exhibit 3.

       38.     The Temporary Structure Fee Resolution, referencing the Blaine Township

Zoning Ordinance, states that “[t]emporary structures and trailers used in conjunction with

construction work may be permitted only during the period that the construction work is in

progress.” See Exhibit 3.

       39.     The Temporary Structure Fee Resolution states that “[e]ach structure shall have

its own permit” and that “[n]o permit shall be valid over six months.” See Exhibit 3.

       40.     The Temporary Structure Fee Resolution further states that the fee for each permit

will be $300.00. See Exhibit 3.

       41.     The Temporary Structure Fee Resolution does not define the following words:

“temporary,” “structure,” “trailer” or “construction work.”

       D.      Ordinance No. O-007-2008: Anti-Corporate Recognition Ordinance

       42.     On July 21, 2008, the Township enacted Ordinance No. O-007-2008 entitled the

“Blaine Township Democratic Self Government and Local Control Ordinance” (the “Anti-

Corporate Recognition Ordinance”). A copy of the Anti-Corporate Recognition Ordinance is

attached as Exhibit 4.

       43.     The full heading of the Anti-Corporate Recognition Ordinance is: “An Ordinance

by the Second Class Township of Blaine Township, Washington County, Pennsylvania,

Eliminating Legal Powers and Privileges from Corporations Doing Business within Blaine

Township to Vindicate the Right to Democratic Self-Governance.” See Exhibit 4.
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        44.    The    Anti-Corporate    Recognition       Ordinance   includes   a   “finding”   that

“Interpretation of the U.S. Constitution by unelected Supreme Court justices to include

corporations in the term ‘persons’ has long denied the peoples’ exercise of rights by endowing

corporations with constitutional privileges intended solely to protect the citizens of the United

States or natural persons within its borders. Enforcement of those corporate ‘rights’ by courts

and governments has long wrought havoc on the peoples’ democratic process.” See Exhibit 4 §

3(2).

        45.    The    Anti-Corporate    Recognition       Ordinance   includes   a   “finding”   that

“Interpretation of the U.S. Constitution by Supreme Court justices to afford corporations the

protections of the Commerce Clause (Article I, §8 of the Constitution of the United States) and

the Contracts Clause (Article I, §10 of the Constitution of the United States) has prevented

communities and governments from securing the health, safety, welfare, and rights of citizens

and natural persons.” See Exhibit 4 § 3(3).

        46.    The Anti-Corporate Recognition Ordinance includes a “finding” that “This

illegitimate judicial bestowal of civil and political rights upon corporations prevents the

administration of laws within Blaine Township and usurps basic human and constitutional rights

guaranteed to the people of Blaine Township.” See Exhibit 4 § 3(4).

        47.    The Anti-Corporate Recognition Ordinance includes a “finding” that “The

illegitimate judicial designation of corporations as ‘persons’ and the bestowal of constitutional

rights upon corporations empowers corporations to sue municipal governments for adopting laws

that violate corporate ‘rights.’” See Exhibit 4 § 3(5).

        48.    The Anti-Corporate Recognition Ordinance includes a “finding” that “The

illegitimate judicial designation of corporations as ‘persons’ gives corporations First Amendment

rights and unfettered access to elections. Those powers enable corporations to deny outright
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peoples’ First Amendment rights to debate and establish public policy on important issues.” See

Exhibit 4 § 3(7).

       49.       Based on these “findings,” the substantive “statement of law” in the Anti-

Corporate Recognition Ordinance provides: “Within Blaine Township, corporations shall not be

‘persons’ under the United States or Pennsylvania Constitutions, or under the laws of the United

States, Pennsylvania, or Blaine Township, and so shall not have the rights of persons under those

constitutions and laws. In addition, within the Township of Blaine, no corporation shall be

afforded the privileges, powers, and protections of the Contracts Clause or Commerce Clause of

the United States Constitution, or of similar provisions from the Pennsylvania Constitution.” See

Exhibit 4 § 6.

       E.        Range’s Operations within the Township

       50.       As an oil and gas operator, Range drills oil and natural gas wells on leaseholds it

acquires from owners of minerals within the Township.

       51.       Among the oil and natural gas leasehold interests that it has within the Township,

Range is seeking to develop the Marcellus Shale region, which is a shale strata located at vertical

depths from 6,000 to 7,000 feet.

       52.       Development of the Marcellus Shale is accomplished through what is commonly

referred to as “deep wells.” The drilling of a deep well costs approximately $4 million.

       53.       Drilling of a deep well takes approximately 30 days. Range employs anywhere

from 20 to 30 subcontractors during the drilling of such a well.

       54.       Many of the subcontractors may be used for just a few days or even a few hours

during the drilling process.
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         55.    The Corporate Disclosure Ordinance purports to hold Range responsible for each

of its subcontractors and requires that Range ensure that each of the subcontractors submits

Disclosure Statements and the required fees.

         56.    The practical result is that subcontractors that could be within the Township only

a few hours are required to submit an application of numerous pages and a fee up to $350.00.

         57.    Further, assuming Range uses 20-30 subcontractors per site, the Township could

collect between $7,000 and $10,500 in fees under the Corporate Disclosure Ordinance for a site

where drilling may be occurring for only a few weeks.

         58.    Further, drilling often requires a number of construction trailers as well as water

tanks in the circumstances where Range must rely on an outside source for the water necessary

for the drilling and fracing process.

         59.    The Township’s Temporary Structure Fee Resolution would require Range to

obtain a separate permit for each such “structure.”

         F.     The Township’s “Citations”

         60.    On June 17 and 27 of 2008, the Township issued 22 citations to Range for alleged

violations of the Temporary Structure Fee Resolution on the grounds that Range allegedly had 22

“temporary structures” located on one approximately 3-acre drilling site. A copy of the 22

citations has been attached, collectively, as Exhibit 5.

         61.    Of the 22 “structures,” in the citations which comprise Exhibit 5, 18 were water

tanks.

         62.    The Township contends that Range must pay a $300 permit fee for each of the 22

“structures,” for a total of $6,600.00 in “permit” fees for “temporary structures” located on one

site of approximately 3 acres.
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        63.     On August 1, 2008, the Township issued 2 citations to Range for alleged

violations of the Corporate Disclosure Ordinance. A copy of the 2 citations has been attached,

collectively, as Exhibit 6.

        64.     The citations in Exhibit 6 state that Range has failed to comply with the Corporate

Disclosure Ordinance at two different drilling sites within the Township.

        65.     The citations in Exhibit 6 each state that a $700.00 fee is due, for a total of

$1,400.00 in fees for alleged violations of the Corporate Disclosure Ordinance.

        66.     As of the date of the filing of this Complaint, Range has not paid the fees for any

of the 24 citations.

        G.      The Magistrate Action

        67.     The Township initiated a magistrate action against Range for the enforcement of

the 24 citations.

        68.     On October 8, 2008, Magistrate Jay H. Dutton found against Range on all 24

citations.

        69.     Pursuant to the Pennsylvania Rules of Civil Procedure, Range appealed the

magistrate’s ruling, and a hearing was conducted in the Washington County Court of Common

Pleas on February 26, 2009 before Judge Paul Pozonsky. As of the filing date of this complaint,

Judge Pozonsky has not issued a ruling on Range’s appeal.


                          COUNT I – DECLARATORY RELIEF:
                         CORPORATE DISCLOSURE ORDINANCE

                    VIOLATION OF THE EQUAL PROTECTION CLAUSE

        70.     Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.

        71.     The Corporate Disclosure Ordinance treats corporations differently than similarly

situated natural persons by requiring corporations to meet onerous disclosure requirements.
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       72.     Amendment XIV of the U.S. Constitution states, in relevant part, that no state

“shall deny to any person within its jurisdiction the equal protection of the laws. . .”. U.S.

CONST. AMEND. XIV.

       73.     Corporations are considered persons for purposes of the protections under the

Constitution of the United States.

       74.     The Corporate Disclosure Ordinance attempts to impose burdensome disclosure

requirements on certain corporations doing business within the Township.

       75.     Other persons doing business within the Township are not subject to the same

disclosure requirements. Additionally, certain exempted corporations are not required to comply

with the Corporate Disclosure Ordinance. See Exhibit 2 and infra at ¶ 34.

       76.     Because the Corporate Disclosure Ordinance impinges fundamental constitutional

rights, it can only be upheld if it advances a compelling state interest and the restrictions are

narrowly tailored to meet that interest.

       77.     The Corporate Disclosure Ordinance does not advance a compelling state interest

but rather deprives corporations of constitutional and legal rights, including the right to do

business with the Township.

       78.     Further, the Corporate Disclosure is not narrowly tailored to meet any compelling

state interest. Rather, it is broadly drafted to include numerous types of corporations, while

providing categorical exemptions of other types of corporations, even if those corporations have

a “history of consistent violations.”

       79.     The Township has used the Corporate Disclosure Ordinance to require the

submission of numerous documents and records by Range and Range’s subcontractors, while

exempting other corporations and individuals from such requirements.
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       80.       The Township has issued citations to Range for alleged violations of the

Corporate Disclosure Ordinance, while neglecting to issue such citations to other corporations or

individuals doing business within the Township.

       81.       For the foregoing reasons, the Corporate Disclosure Ordinance violates the Equal

Protection Clause of the Constitution of the United States.

       82.       Range has suffered injury as a result of the Township’s issuance and enforcement

of the Corporate Disclosure Ordinance.

       WHEREFORE, Range respectfully requests that the Court declare the Corporate

Disclosure Ordinance to be invalid as an unconstitutional violation of the Equal Protection

Clause, declare the Township’s enforcement of the Ordinance to be invalid, and grant any such

further relief that the Court may deem just and proper.


                          COUNT II – DECLARATORY RELIEF:
                     ANTI-CORPORATE RECOGNITION ORDINANCE

                   VIOLATION OF THE EQUAL PROTECTION CLAUSE

       83.       Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.

       84.       The Anti-Corporate Recognition Ordinance treats corporations differently than

similarly situated natural persons, by providing that corporations shall not be afforded the rights

provided by the Constitution of the United States, including, but not limited to, rights under the

First Amendment, the Commerce Clause, the Contracts Clause and the Fourteenth Amendment.

See Exhibit 4.

       85.       Amendment XIV of the U.S. Constitution states, in relevant part, that no state

“shall deny to any person within its jurisdiction the equal protection of the laws. . .”. U.S.

CONST. AMEND. XIV.
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         86.    The rights provided by the Constitution of the United States, including, but not

limited to, rights under the First Amendment, Commerce Clause, Contracts Clause and the

Fourteenth Amendment are fundamental rights.

         87.    Corporations are considered persons for purposes of the protections under the

Constitution of the United States.

         88.    The Anti-Corporate Recognition Ordinance is limited in its application to

“corporations” and purports to strip only corporations of their constitutional rights while the

constitutional rights of other persons within the Township remain unaffected.

         89.    Because    the   Anti-Corporate     Recognition     Ordinance   impinges   Range’s

fundamental constitutional rights, it can only be upheld if it advances a compelling state interest

and the restrictions are narrowly tailored to meet that interest.

         90.    The Anti-Corporate Recognition Ordinance does not advance a compelling state

interest but rather exists only to deprive corporations of long-standing constitutional and other

legal rights.

         91.    The Anti-Corporate Recognition Ordinance is not narrowly tailored to meet any

compelling state interest because it applies to corporations, but does not apply to other natural

persons and businesses.

         92.    The Anti-Corporate Recognition Ordinance purports to strip corporations of all

legal and constitutional rights, which is a facially overbroad attempt to regulate the activities of

corporations.

         93.    For the foregoing reasons, the Anti-Corporate Recognition Ordinance violates the

Equal Protection Clause of the Constitution of the United States.

         94.    Enforcement of the Anti-Corporate Recognition Ordinance will cause injury to

Range.
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         WHEREFORE, Range respectfully requests that the Court declare the Anti-Corporate

Recognition Ordinance to be invalid as an unconstitutional violation of the Equal Protection

Clause, declare the Township’s issuance and enforcement of the Ordinance to be invalid, and

grant any such further relief that the Court may deem just and proper.


                          COUNT III – DECLARATORY RELIEF:
                         CORPORATE DISCLOSURE ORDINANCE

                       VIOLATION OF THE COMMERCE CLAUSE

         95.    Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.

         96.    The Corporate Disclosure Ordinance imposes burdens on interstate commerce

that are excessive in relationship to any putative local benefit, which has not been identified to

exist.

         97.    The Corporate Disclosure Ordinance purports to require corporations to submit

information on the corporation’s history for the prior twenty years.          This requirement is

unreasonable, unnecessary, and burdensome. The corporation must submit this information to

the Township before engaging in any legal business activities in the Township.

         98.    If the Township has “reason to believe” that the corporation’s officers, directors

or owners are affiliated with other corporations that have a “history of consistent violations,” the

Township can require submissions of excessive amounts of corporate history and documentation

for the prior twenty years for each of the other corporations, in addition to the applicant

corporation.

         99.    The Corporate Disclosure Ordinance purports to prohibit any corporation with a

“history of consistent violations” of the law from engaging in business activities within the
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Township regardless of the legality of those business activities and regardless of the nature of the

violations of law committed by the corporation.

       100.    Range would incur substantial expenses if required to compile the information

necessary to complete the “compliance history” and “disclosure application form” purportedly

required by the Corporate Disclosure Ordinance.

       101.    The Corporate Disclosure Ordinance prevents Range from developing significant

production of natural gas within the Township, which would be used to supply energy needs

throughout the region.

       102.    The Corporate Disclosure Ordinance, therefore, imposes substantial burdens on

interstate commerce by requiring the disclosure of onerous amounts of information and by

banning corporations that have a “history of consistent violations” of the law from engaging in

legal business activities within the Township, including oil and natural gas drilling and

production.

       103.    The Corporate Disclosure Ordinance has a substantial impact on interstate

commerce because it has the effect of curbing the supply of oil and natural gas, which is an

important natural resource, at a time when the demand for domestic oil and natural gas is

growing substantially.

       104.    The Corporate Disclosure Ordinance does not provide any benefit because the

health, safety, and welfare of the residents of the Township and the environment are already

protected by the comprehensive and exclusive regulatory scheme for oil and natural gas

operations enacted by the Commonwealth of Pennsylvania and administered by the Pennsylvania

Department of Environmental Protection.

       105.    Further, the Corporate Disclosure Ordinance does not provide any benefit because

the health, safety, and welfare of the residents of the Township are already protected by the
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comprehensive and exclusive registration scheme for corporations and limited liability

companies set forth in the Limited Liability Company Law.

       106.     There is no finding or evidence to support the assertion that a subset of all

corporations with a “history of consistent violations” of the law pose a greater threat to the

health, safety and welfare of residents of the Township than corporations that do not have a

“history of consistent violations” of the law.

       107.     The Corporate Disclosure Ordinance defines the term “violation” to include

“notices of violation” and therefore purports to prohibit companies from engaging in business in

the Township based on mere allegations of a violation of the law.

       108.     For the foregoing reasons, the Corporation Disclosure Ordinance violates the

Commerce Clause of the United States Constitution.

       109.     The Township has issued two citations to Range for alleged violations of the

Corporate Disclosure Ordinance.

       110.     Range has suffered injury as a result of the Township’s enforcement of the

Corporate Disclosure Ordinance.

       WHEREFORE, Range respectfully requests that the Court declare the Corporate

Disclosure Ordinance to be a violation of the Commerce Clause, declare the Township’s

issuance and enforcement of the Ordinance to be unconstitutional and invalid, and grant such

further relief that the Court may deem just and proper.


                        COUNT IV – DECLARATORY RELIEF:
                    ANTI-CORPORATE RECOGNITION ORDINANCE

                      VIOLATION OF SUBSTANTIVE DUE PROCESS

       111.     Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.
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          112.   In enacting the Anti-Corporate Recognition Ordinance, the Township intended t,o

and effectively does, deny corporations of their fundamental rights provided by the United States

Constitution, including, but not limited to, their rights under the Contracts Clause and Commerce

Clause.

          113.   The Township’s abrogation of a corporation’s Constitutional rights is deliberate,

arbitrary, and irrational.

          114.   The Township’s conduct is an abuse of official power which shocks the

conscience.

          115.   For these reasons, the Anti-Corporate Recognition Ordinance violates the

Substantive Due Process protections of the Fourteenth Amendment of the United States

Constitution.

          116.   Range will suffer injury if the Township is permitted to enforce the Corporate

Disclosure Ordinance.

          WHEREFORE, Range respectfully requests that the Court declare the Anti-Corporate

Recognition Ordinance to be a violation of the Fourteenth Amendment, declare the Township’s

issuance and enforcement of the Ordinance to be unconstitutional and invalid, and grant such

further relief that the Court may deem just and proper.


                          COUNT V – DECLARATORY RELIEF:
                       TEMPORARY STRUCTURE FEE RESOLUTION

                   UNCONSTITUTIONALLY VAGUE AND OVERBROAD

          117.   Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.

          118.   A regulation must provide clearly defined terms to allow for uniform

enforcement. If the regulation is not clear it will be invalid because it will not be able to be
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enforced consistently. Further, a regulation must expressly provide what conduct is covered by

the regulation.

       119.       The Temporary Structure Fee Resolution does not define the terms “temporary,”

“structure,” “trailer” or “construction work.” Therefore, the Temporary Structure Fee Resolution

is vague because one is unable to determine from the face of the Temporary Structure Resolution

which types of “structures” and “trailers” require permits. As stated, the Temporary Structure

Fee Resolution is therefore unconstitutional because it is vague and overbroad.

       120.       The Township issued 22 citations to Range for alleged violations of the

Temporary Structure Fee Resolution. Eighteen of those citations were for water tanks. From the

language of the Temporary Structure Fee Resolution, Range had no notice that a water tank

would require a permit.

       121.       Because the Temporary Structure Fee Resolution does not appropriately define

“structures” to which it applies, it gives the Township broad discretion to enforce the Temporary

Structure Fee Resolution in an overbroad, arbitrary, and discriminatory manner.

       122.       For the foregoing reasons, the Temporary Structure Fee Resolution is

unconstitutional.

       123.       Range has suffered injury as a result of the Township’s issuance and enforcement

of the Temporary Structure Fee Resolution.

       WHEREFORE, Range respectfully requests that the Court declare the Temporary

Structure Fee Resolution to be invalid because it is unconstitutionally vague and overbroad,

declare the Township’s issuance and enforcement of the Temporary Structure Fee Resolution to

be invalid, and grant such further relief that the Court may deem just and proper.
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                          COUNT VI – DECLARATORY RELIEF:
                       TEMPORARY STRUCTURE FEE RESOLUTION

                                            IMPROPER TAX

          124.   Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.

          125.   A fee for a permit must be reasonably related to the costs associated with the

regulation and the administration of the permit. If a fee is not reasonably related, it will be

considered an improper tax.

          126.   The Temporary Structure Fee Resolution requires a $300 fee for each “permit” for

every “structure” or “trailer” on a site.

          127.   There is no evidence of any cost to the Township, beyond nominal administrative

costs, for issuing the “permit.” Moreover, there is no evidence that a $300.00 fee is reasonably

related to any costs the Township might allegedly incur for issuing, regulating or administering a

permit.

          128.   Thus, the $300 fee is excessive and not reasonably related to the Township’s

costs.

          129.   The excessiveness of the $300 fee for each permit is particularly evident in the

case of an applicant with more than one structure.

          130.   The Township chose to arbitrarily apply the Temporary Structure Fee Resolution

to Range 22 times for one 3-acre site, which resulted in $6,600.00 in fees. However, there is no

evidence that the Township’s administrative costs to issue 22 permits to one applicant is in any

way reasonably related to the services that the Township allegedly provides, or to the

Township’s costs associated with regulation or administration.
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       131.     Because the permit fee is not reasonably related to any costs the Township

allegedly incurs in regulating or administering the permit, the “fee” is actually an improper tax

that the Township does not have the authority to impose or enforce.

       132.     Range has suffered injury as a result of the Township’s issuance and enforcement

of the Temporary Structure Fee Resolution.

       WHEREFORE, Range respectfully requests that the Court declare the Temporary

Structure Fee Resolution as invalid as an improper tax, declare the Township’s issuance and

enforcement of the Resolution to be invalid, and grant such further relief that the Court may

deem just and proper.


                          COUNT VII – DECLARATORY RELIEF:
                         CORPORATE DISCLOSURE ORDINANCE

                                        IMPROPER TAX

       133.     Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.

       134.     Even if the Corporate Disclosure Ordinance is lawful, the annual fee for the

Corporate Disclosure Ordinance is not rationally related to the costs associated with its

regulation and administration.

       135.     The Fee Schedule for the Corporate Disclosure Ordinance sets the fee based on a

corporation’s previous year’s business tax return. Accordingly, the greater the income the larger

the fee will be. See Exhibit 2.

       136.     The fees are not rationally related to the Township’s costs because there is no

evidence that the administration of a Disclosure Statement from a corporation with a greater

income on its return will be more expensive for the Township than for the costs of administration

for a corporation with a lesser income on its return.
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       137.     To the contrary, it is apparent from the Fee Schedule that the Township is

attempting to charge applicant corporations with greater incomes higher fees, without any

reasonable relationship to the Township’s costs to administer statements from those corporations

as compared with other corporations.

       138.     Under the Fee Schedule, Range is required to pay the Township $350.00 per year

for each year that it does business within the Township.

       139.     Because the Fee Schedule is not reasonably related to the Township’s costs

incurred in administering the Corporate Disclosure Ordinance, the “fee” is actually an improper

tax that the Township does not have the authority to impose or enforce.

       140.     Range has suffered injury as a result of the Township’s issuance and enforcement

of the Corporate Disclosure Ordinance and the Fee Schedule.

       WHEREFORE, Range respectfully requests that the Court declare the Corporate

Disclosure Ordinance to be invalid as an improper tax, declare the Township’s enforcement of

the Fee Schedule to be an improper tax, and grant such further relief that the Court may deem

just and proper.


                         COUNT VIII – DECLARATORY RELIEF:
                         CORPORATE DISCLOSURE ORDINANCE

                                         PREEMPTION

       141.     Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.

       142.     Pursuant to the Second Class Township Code, the Township has the authority to

enact ordinances and regulations only to the extent that they are “not inconsistent with or

restrained by the Constitution and laws of this Commonwealth. . .”. 53 P.S. §66506.
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       143.    The Corporate Disclosure Ordinance has the effect of revoking a corporation’s

right to engage in lawful business within the Township by prohibiting a corporation with a

“consistent history of violations” from engaging in all business activities that would otherwise be

lawful. See Exhibit 1 § 12.

       144.    Range is organized as a limited liability corporation under the laws of

Pennsylvania, including Pennsylvania’s Limited Liability Company Law (“LLCL”). Range is

also a “corporation” as defined by the Anti-Disclosure Ordinance.

       145.    The LLCL provides that limited liability companies may be organized for any

lawful purpose, except banking or insurance, and that unless otherwise restricted in its certificate

of organization, a limited liability company may engage in all lawful businesses. 15 Pa.C.S.A.

§ 8911.

       146.    The LLCL provides that a limited liability company has the “legal capacity of

natural persons to act.” 15 Pa.C.S.A. § 8921.

       147.    The LLCL provides that limited liability companies have the same rights, powers

and privileges as domestic corporations engaged in the same line of business. 15 Pa.C.S.A.

§ 8902.

       148.    The LLCL permits the state of Pennsylvania to commence proceedings to enjoin a

limited liability company from engaging in unauthorized or unlawful business. 15 Pa.C.S.A.

§ 8911.

       149.    There are no provisions in the LLCL which permit a second class township to

revoke a limited liability company’s right to engage in lawful business activity.

       150.    In enacting the LLCL, the General Assembly preempted local regulation of a

limited liability company’s business activities because the LLCL provides complete and

comprehensive regulations for all aspects of a limited liability company’s operations.
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       151.     The Corporate Disclosure Ordinance seeks to regulate and prohibit a limited

liability company’s right to engage in lawful business activities.

       152.     A controversy exists between Range and the Township because Range has

advised the Township that the Corporate Disclosure Ordinance is unlawful and is preempted by

the LLCL. Further, a controversy exists because Range is unable to comply with the Corporate

Disclosure Ordinance because the disclosure requirements are unduly burdensome and because

Range cannot be held responsible for compliance by all of its subcontractors.

       153.     The Township asserts that the Corporate Disclosure Ordinance is valid and, as

previously averred, has issued two citations to Range for alleged violations of the Corporate

Disclosure Ordinance.

       154.     Declaratory relief from this Court will terminate the controversy between Range

and the Township with respect to whether the Township has the right to enact the Corporate

Disclosure Ordinance in light of the provisions of the LLCL.

       155.     A judicial declaration is necessary as to whether the Corporate Disclosure

Ordinance has been preempted by the LLCL and is therefore invalid and unenforceable.

       WHEREFORE, Range respectfully requests that the Court declare the Corporate

Disclosure Ordinance to be invalid because it is preempted by the LLCL, declare the Township’s

enforcement of the Corporate Disclosure Ordinance to be invalid, and grant such further relief

that the Court may deem just and proper.


                          COUNT IX – DECLARATORY RELIEF:
                         CORPORATE DISCLOSURE ORDINANCE

                                         PREEMPTION

       156.     Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.
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       157.       The Corporate Disclosure Ordinance impermissibly regulates the development of

oil and natural gas, which is exclusively and comprehensively regulated within the

Commonwealth of Pennsylvania by the Pennsylvania Department of Environmental Protection

through the Pennsylvania Oil and Gas Act (the “Act”). Oil and Gas Act, Act No. 1984-223 §

602, as amended by Act No. 1992-78, § 7, 58 P.S. § 601.101 et seq.

       158.       The Act expressly preempts all local regulation of oil and gas well operations.

Specifically, the Act states, in relevant part: “all local ordinances and enactments purporting to

regulate oil and gas well operations regulated by this act are hereby superseded.” 58 P.S. §

601.602. The Act further states that it “hereby preempts and supersedes the regulation of oil and

gas wells.” Id.

       159.       Through the Corporate Disclosure Ordinance, the Township is impermissibly

regulating oil and gas development.

       160.       As previously averred, the Corporate Disclosure Ordinance requires Range to

submit a burdensome Disclosure Statement and pay an annual fee of $350.00 for its natural gas

development within the Township.

       161.       The Corporate Disclosure Ordinance also imposes onerous requirements on

Range to ensure that each of its subcontractors submits the Disclosure Statements and pays the

annual fees.

       162.       The requirements of the Corporate Disclosure Ordinance are imposing regulations

on Range’s oil and gas operations, and as such, the Corporate Disclosure Ordinance is expressly

preempted under the Act.

       163.       Declaratory relief from this Court will terminate the controversy between Range

and the Township with respect to whether the Township has the right to enact the Corporate

Disclosure Ordinance in light of the provisions of the Act.
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       164.     A judicial declaration is necessary as to whether the Corporate Disclosure

Ordinance has been preempted by the Act and is therefore invalid and unenforceable.

       WHEREFORE, Range respectfully requests that the Court declare the Corporate

Disclosure Ordinance to be invalid because it is preempted by the Act, declare the Township’s

enforcement of the Corporate Disclosure Ordinance to be invalid, and grant such further relief

that the Court may deem just and proper.


                          COUNT X – DECLARATORY RELIEF:
                         CORPORATE DISCLOSURE ORDINANCE

                    IMPERMISSIBLE EXERCISE OF POLICE POWER

       165.     Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.

       166.     Second class townships do no possess broad police powers. Rather, they possess

only such powers as have been granted to them by the General Assembly.

       167.     The Township cites 53 P.S. § 66506 of the Pennsylvania Municipalities Planning

Code (the “MPC”) as authority for enactment of the Corporate Disclosure Ordinance. See

Exhibit 1 § 2. This section of the MPC states that a township may enact ordinances “not

inconsistent with or restrained by the Constitution and laws of this Commonwealth necessary for

the proper management, care and control of the township and its finances and the maintenance of

peace, good government, health and welfare of the township and its citizens, trade, commerce

and manufacturers.”

       168.     The Township also cites 53 P.S. § 66527 of the MPC as authority for enactment

of the Corporate Disclosure Ordinance. See Exhibit 1 § 2. This section of the MPC states that a

township may enact ordinances “to secure the safety of persons or property within the township

and to define disturbing the peace within the limits of the township.” See 53 P.S. § 66527.
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       169.    The Township also cites 53 P.S. § 66529 of the MPC as authority for the

enactment of the Corporate Disclosure Ordinance. See Exhibit 1 § 2. This section of the MPC

states that a township may enact ordinances “to prohibit nuisances, including, but not limited to,

the storage of abandoned or junked automobiles, on private and public property and the carrying

on of any offensive manufacture or business.” See 53 P.S. § 66529.

       170.    The Township also generally cites the whole MPC as authority for the Township

to enact ordinances that promote public health, safety and welfare. See Exhibit 1 § 2.

       171.    The Corporate Disclosure Ordinance is not within the scope of powers granted to

the Township pursuant to the MPC because it creates arbitrary interference with private business

and imposes unusual and unnecessary restrictions upon lawful business activities.

       172.    The Township lacks any evidence to support its purported “finding” that

corporations which have a “consistent history of violations” of the law (as that term is defined in

the Corporate Disclosure Ordinance) or which are affiliated with officers, directors or owners

who have a “consistent history of violations” of law, pose any threat to the health, safety and

welfare of the residents of the Township.

       173.    The Corporate Disclosure Ordinance is arbitrary and imposes unusual and

unnecessary restrictions on lawful business activities because it prohibits a corporation from

engaging in lawful business activities based on mere allegations that the corporation has engaged

in a limited number of potentially unrelated violations of law over a twenty year period.

       174.    The Corporate Disclosure Ordinance is arbitrary because it unduly restricts, and

even prohibits corporations with “consistent history of violations” from doing business within

the Township, but the Corporate Disclosure Ordinance does not place any restrictions on

individuals or businesses not classified as “corporations” from doing business within the

Township, even when those individuals or businesses have a “consistent history of violations.”
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To the contrary, the Corporate Disclosure Ordinance purports to allow an individual or business

with a consistent history of violations of law to continue business activities while at the same

time prohibiting that same individual from operating the same business through a single member

limited liability company.

       175.     The distinction between individually-operated and corporate-operated businesses

is arbitrary and does not serve any legitimate relationship to the health, safety and welfare of the

residents of the Township.

       176.     The Corporate Disclosure Ordinance is not within the scope of the powers granted

to the Township pursuant to 53 P.S. § 66529 because that section permits a township to regulate

business activities only when it is established that those activities constitute a nuisance in fact.

       177.     There are no findings or evidence set forth in the Corporate Disclosure Ordinance

that Range’s natural gas operations and development in general constitutes a nuisance in fact.

       178.     The Corporate Disclosure Ordinance is an impermissible attempt to license and

regulate business outside the limited scope of business regulation authority delegated to second

class townships.

       179.     The Corporate Disclosure Ordinance requires a corporation to register, pay a

license fee and have its disclosure form accepted before engaging in business activities in the

Township.

       180.     Pursuant to 53 P.S. § 66532, a second class township is permitted to license and

regulate by ordinance only a limited range of business activities, including transient merchants,

cable television companies, restaurants and junk dealers which are operating or doing business in

the township.
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       181.     Range’s proposed business activities do not fall within any of the categories of

business identified in 53 P.S. § 66532 and, as a result, the Township lacks the authority to either

regulate or license those business activities.

       182.     For these reasons, the Corporate Disclosure Ordinance is an impermissible

exercise of the Township’s authority under the MPC and is therefore invalid and unenforceable.

       183.     Range has suffered injury as a result of the Township’s issuance and enforcement

of the Corporate Disclosure Ordinance.

       184.     Declaratory relief from this Court will terminate the controversy between Range

and the Township with respect to whether the Township has the right to enact the Corporate

Disclosure Ordinance pursuant to its police powers.

       185.     A judicial declaration is necessary as to whether the Corporate Disclosure

Ordinance is an invalid exercise of the Township’s legislatively granted authority and is

therefore invalid and unenforceable.

       WHEREFORE, Range respectfully requests that the Court declare the Corporate

Disclosure Ordinance to be invalid, declare the Township’s enforcement of the Corporate

Disclosure Ordinance to be invalid, and grant such further relief that the Court may deem just

and proper.


                        COUNT XI – DECLARATORY RELIEF:
                    ANTI-CORPORATE RECOGNITION ORDINANCE

                    IMPERMISSIBLE EXERCISE OF POLICE POWER

       186.     Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.

       187.     The Township cites 53 P.S. §§ 66506, 66527 and 66529 as authority for enacting

the Anti-Corporate Recognition Ordinance.
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        188.    Significantly and as quoted above, § 66506 of the MPC states that a township

may enact ordinances “not inconsistent with or restrained by the Constitution and laws of this

Commonwealth necessary for the proper management, care and control of the township and its

finances and the maintenance of peace, good government, health and welfare of the township and

its citizens, trade, commerce and manufacturers.”

        189.    The Anti-Corporate Recognition Ordinance seeks to strip corporations, as defined

by the Township, of all of their rights under the constitutions of both the United States and

Pennsylvania. See Exhibit 4 § 6.

        190.    The Township cannot support its purported purpose for the Anti-Corporate

Recognition Ordinance that the Ordinance will “guarantee residents of Blaine Township their

right to a republican form of governance by refusing to recognize the purported constitutional

rights of corporations” and that the Anti-Corporate Recognition Ordinance will “remedy current

and future harms that corporations have caused and will continue to cause.” See Exhibit 4 § 4

        191.    To the contrary, the Anti-Corporate Recognition Ordinance purports to impose a

bizarre restriction that strips corporations of their constitutional and legal rights.

        192.    The Anti-Corporate Recognition Ordinance asserts that corporations shall not

have rights under the constitutions and laws of the United States and Pennsylvania. As such, it

cannot meet the requirement that a lawful ordinance “not [be] inconsistent with or constrained by

the laws of this Commonwealth” as the MPC requires.

        193.    Accordingly, the Township has exceeded the scope of its police powers under the

MPC, and the Anti-Corporation Recognition Ordinance is therefore invalid.

        WHEREFORE, Range respectfully requests that the Court declare the Anti-Corporate

Recognition Ordinance to be invalid, and grant such further relief that the Court may deem just

and proper.
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                              COUNT XII – INJUNCTIVE RELIEF

       194.     Range realleges each of the foregoing paragraphs of this Complaint as if set forth

fully herein.

       195.     Range is likely to prevail on the merits of this claim, given that the Ordinances

and Resolution violate the United States and Pennsylvania Constitutions, are preempted by

Pennsylvania state law and exceed the Township’s authority.

       196.     Unless and until the Township is preliminarily and permanently enjoined from

enforcing the Ordinances and the Resolution, Range will be subjected to unnecessary,

unreasonable and prohibitively burdensome requirements, which have irreparably harmed and

will continue to irreparably harm Range by effectively preventing Range from developing its

property rights.

       197.     By contrast, the Township will suffer no irreparable harm.           Because the

Ordinances and Resolution regulate activities beyond the scope of the Township’s authority and

are not reasonably related to the Township’s purported purposes, the Township will suffer no

harm should it be enjoined.

       198.     Indeed, greater injury to the public interest will occur if Range’s request for

injunctive relief is denied. Not only will Range be prevented from exercising its property rights,

but landowners who have natural gas leases with Range will not benefit from oil and natural gas

development beneath their property. Moreover, the Ordinances and Resolution will have a

harmful impact upon the public interest in the Township and Pennsylvania by limiting

availability of, and increasing the cost of, natural gas development, thereby causing increased

costs to the consumer.

       199.     Range has no adequate remedy at law because, unless the Court enjoins

enforcement of the Ordinances, it will suffer damages as a result of the Ordinances and
       Case
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           2:05-mc-02025        Document
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Resolution that are impossible to quantify. Moreover, the Township is subject to governmental

immunity, and therefore Range is precluded from asserting an action for money damages.

42 Pa.C.S. §8541.

       WHEREFORE, Range respectfully requests that the Court preliminarily and permanently

enjoin the Township (and any persons within the Township’s control or acting on their behalf)

from enforcing, directly or indirectly, the Ordinances and Resolution, and grant such further

relief that the Court may deem just and proper.




March 24, 2009                               Respectfully submitted,


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